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     PETER C. ANDERSON
 1   UNITED STATES TRUSTEE
     JILL M. STURTEVANT, State Bar No. 089395
 2   ASSISTANT UNITED STATES TRUSTEE                                 FILED & ENTERED
     RON MAROKO, State Bar No. 124770
 3   TRIAL ATTORNEY
     OFFICE OF THE UNITED STATES TRUSTEE                                    SEP 12 2019
 4   915 Wilshire Boulevard, Suite 1850
     Los Angeles, California 90017                                     CLERK U.S. BANKRUPTCY COURT
 5   (213) 894-4520 telephone; (213) 894-2603 facsimile                Central District of California
     Email: ron.maroko@usdoj.gov                                       BY sumlin     DEPUTY CLERK
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                                 UNITED STATES BANKRUPTCY COURT
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                     CENTRAL DISTRICT OF CALIFORNIA - Los Angeles Division
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     In re:                                          )   Case No.: 2:19-bk-18316-NB
11                                                   )   Chapter 11
     ASHLEY SUSAN AARONS,                            )
12                                                   )   ORDER DENYING EMPLOYMENT
                                                     )   APPLICATION OF THE TUROCI FIRM AS
13                                Debtor(s).         )   GENERAL BANKRUPTCY COUNSEL DUE
                                                     )   TO INDIRECT LENDING RELATIONSHIP
14                                                   )
                                                     )   DATE: September 10, 2019
15                                                   )   TIME: 1:00 pm
                                                     )   CTRM: 1545
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              The Court heard The Turoci Firm’s application to be employed as general bankruptcy
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     counsel (“Application”; docket #23) and the United States Trustee's opposition (docket #30) to said
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     Application at the above date and time. The Court issued a tentative ruling prior to the hearing, The
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     tentative ruling was adopted as the final ruling, and is attached hereto and incorporated herein as
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     though set out in full.
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              Based upon the record, the aforementioned tentative ruling, and GOOD CAUSE appearing,
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 1          IT IS HEREBY ORDERED that the Application to Employ The Turoci Firm as Debtor’s

 2   general bankruptcy counsel is DENIED.

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23 Date: September 12, 2019

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                                 Courtroom 1545 Calendar

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1:00 PM
2:19-18316    Ashley Susan Aarons                                                     Chapter 11

    #4.00     Hrg re: Motion in Individual Ch 11 Case for
              Order Employing Professional (LBR 2014-1):
              The Turoci Firm as General Bankruptcy Counsel

                                 Docket       23

  Tentative Ruling:
      Deny the motion, under both subsections "(a)" and "(e)" of 11 U.S.C. 327.
      Appearances required.

      Analysis
                Debtor's motion (dkt. 23) and supplement (dkt. 28) seek employment
      of The Turoci Firm. The United States Trustee has filed an opposition (dkt.
      30), and Debtor has filed a reply (dkt. 38).
                The Bankruptcy Code requires that general bankruptcy counsel be
      "disinterested" (11 U.S.C. 327(a)), which means a person who is "not a
      creditor" (among other things). 11 U.S.C. 101(14)(A). In other words, the
      statute prohibits general bankruptcy counsel from holding any claim, not just a
      secured claim.
                Debtor cites authority from other jurisdictions that a security interest
      in favor of proposed bankruptcy counsel is not necessarily disqualifying. See
      Reply (dkt. 51). But those out-of-circuit decisions are not binding; the
      authority in the Ninth Circuit appears to disfavor security interests (except in
      cash retainers); and the tentative ruling is that employment is not permitted in
      the circumstances of this case.
                Debtor cites In re Martin, 817 F.2d 175 (1st Cir. 1987) (security
      interest in debtor's property does not per se disqualify proposed counsel), and
      In re Watson, 94 B.R. 111 (Bankr. S.D. Ohio 1988) (following Martin). But in
      this circuit the Bankruptcy Appellate Panel (the "BAP") has held that "a
      professional with a claim secured by the debtor's property [is] not
      disinterested as a matter of law." In re CIC Inv. Corp., 175 B.R. 52, 53 (9th
      Cir. BAP 1994) ( (emphasis added), but cf. id. at 56 n.4 (distinguishing
      Martin). See also, e.g., In re Escalera, 171 B.R. 107 (Bankr. E.D. Wash.
      1994) (declining to follow Martin, and distinguishing retainers from security
      interests in other estate property).

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CONT...       Ashley Susan Aarons                                                       Chapter 11
                More generally, the BAP has stated: "We have previously
      acknowledged that '[t]he courts do not agree on whether counsel with a
      prepetition claim [i.e., either a secured claim or an unsecured claim] against
      the debtor is absolutely barred from representing the trustee or debtor in
      possession as general counsel,' but we have come down firmly on the side of
      the courts barring such representation." In re Triple Star Welding, Inc., 324
      B.R. 778, 791 n.17 (9th Cir. BAP 2005) (emphasis added, citations omitted).
      Compare In re Dick Cepek, Inc., 339 B.R. 730 (9th Cir. BAP 2006) (2-1
      decision) (professional holding security retainer would not be required to
      disgorge it if it had been adequately disclosed, despite lack of equal
      distribution among administrative claims), on appeal after further proceedings,
      300 Fed.Appx. 497 (9th Cir. 2008) (disgorgement required because asserted
      security interest had not been adequately disclosed).
                The analysis is somewhat different when the proposed professional
      does not directly hold a claim. In that instance the question is whether the
      professional "does not have an interest materially adverse to the interest of
      the estate or of any class of creditors or equity security holders, by reason of
      any direct or indirect relationship to, connection with, or interest in, the debtor,
      or for any other reason." 11 U.S.C. 101(14)(C) (emphasis added). Cf. In re
      AFI Holding, Inc., 530 F.2d 832, 844-49 (9th Cir. 2008) (noting, in case
      involving removal of trustee, that 11 U.S.C. 101(14)(C), unlike (14)(A),
      requires "materially" adverse interest).
                The tentative ruling is that (1) a secured loan that came directly from
      proposed bankruptcy counsel for a debtor would create an inherent lack of
      disinterestedness; (2) that lack of disinterestedness cannot be resolved by
      arranging the secured loan through a lending business owned by the firm's
      principal; and (3) the lack of disinterestedness also cannot be resolved by
      subsequently transferring the loan and security interest to an independent
      third party.

      (1) A secured loan directly from proposed counsel would create an inherent
      lack of disinterestedness
                Some courts (such as Martin) point out that, as soon as a lawyer
      performs any services, that lawyer is owed a debt by the debtor/estate, and
      on that basis those courts decline to read the statute literally. But this Court
      must apply the plain meaning of the statute, unless that would produce
      absurd results.

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              Congress chose to draw a bright line between prepetition claims, which
      disqualify counsel under 11 U.S.C. 101(14)(A) and 327(a), and postpetition
      administrative expenses, which do not disqualify counsel. That bright line is
      not absurd.
              Congress rationally could conclude that prepetition claims present the
      risk of skewing a professional's economic incentives for or against other
      classes of creditors. Conversely, Congress rationally could conclude, there is
      substantially less risk for postpetition administrative expenses, because those
      expenses must be based on "necessary services" and are scrutinized to see
      if they "were necessary to the administration of, or beneficial ... toward
      completion of," the bankruptcy case. 11 U.S.C. 330(a)(1)(A) & (3)(C).
              The rational basis for this distinction is reinforced by an examination of
      the economic incentives of secured and unsecured creditors, which generally
      are in opposition to one another. That can be illustrated with a hypothetical
      example.
              Suppose that a hypothetical debtor in possession (the "DIP") has
      parcels of real estate without much equity, but enough to secure a loan from
      the law firm that seeks to be retained as general bankruptcy counsel. Like
      any DIP, this debtor will have to make choices on all sorts of issues, such as
      whether to adopt a risky but potentially lucrative business plan for using the
      property as an Airbnb.
              The economic incentive usually is for unsecured creditors to favor any
      risky strategy, because even a risky gambit is better than the certainty of little
      or no dividend at all. Conversely, the economic incentive for secured
      creditors usually is to minimize risk: any risk generally poses only a "down-
      side" exposure, with no possibility of any "up-side" because secured claims
      generally are capped at the value of the collateral (under 11 U.S.C. 506(b)).
              Like anyone in charge of a business with conflicting constituencies, a
      DIP must strive not to be biased against any class of creditors, and instead
      take whatever course of action will have the best overall chance of
      maximizing the value of the estate. See generally In re AWTR Liquidation,
      Inc., 548 B.R. 300, 327-30 (Bankr. C.D. Cal. 2016); and see Credit Lyonnais
      Bank Nederland N.V. v. Pathe Communications Corp., 1991 WL 277613 at
      n.55 (Del. Ch. Dec. 30, 1991) (illustrating concept of maximizing value,
      despite conflicting constituencies, using a hypothetical discounted present
      value analysis to assess different courses of action).
              For these reasons, any proposed general bankruptcy counsel who

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      holds a secured claim against the bankruptcy estate has economic incentives
      that may be adverse to unsecured claims (or other classes of secured
      claims). In fact, holding any claim - secured or unsecured - places such
      counsel at risk of being adverse to other classes of creditors.
             Of course, the interests of secured creditors and unsecured creditors
      sometimes allign. But the problem is that it is impossible to know in advance
      when the interests will be alligned, and meanwhile the proposed professional
      who holds a claim (secured or unsecured) has an economic incentive that
      may be adverse to at least some creditors.
             In sum, Congress chose to draw a bright line barring professionals who
      hold claims from employment under 11 U.S.C. 327(a). That bright line is not
      absurd, so this Court must apply the plain meaning of the statute.
             Therefore, if The Turoci Firm held a claim (secured or unsecured) as of
      the petition date, it would be disqualified. The next question is whether the
      outcome is different because the lending relationship was indirect.

      (2) The lack of disinterestedness cannot be resolved by arranging the
      secured loan through an entity owned by the firm's principal
             The requirement to be "disinterested" encompasses not just a bar on
      being a "creditor" directly but also a requirement that proposed counsel "not
      have an interest materially adverse to the interest of the estate or of any class
      of creditors or equity security holders, by reason of any direct or indirect
      relationship to, connection with, or interest in, the debtor, or for any other
      reason." 11 U.S.C. 101(14)(C) (emphasis added). The tentative ruling is
      that, when Congress chose to draw a bright line prohibiting proposed
      professionals from holding any "claim," it would not be consonant with
      Congressional intent to permit the professional to hold a claim indirectly.
             From a practical standpoint, there is no difference. If Mr. Turoci's
      lending business holds a claim, his and his law firm's economic incentives are
      the same as if his law firm held the claim directly. That was the situation in
      which The Turoci Firm found itself at the inception of this case. See
      Supplement to Motion (dkt.28).

      (3) The lack of disinterestedness cannot be resolved by subsequently
      transferring the loan and security interest to an independent third party
             Based on the foregoing analysis, The Turoci Firm was disqualified at
      the inception of this case because of its indirect claim against the bankruptcy

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      estate (through the firm's principal's lending business). The question is
      whether, by transferring the loan and security interest, the disqualification can
      be cured.
              The tentative ruling is that it cannot. First, selling the loan does not
      retroactively change The Turoci Firm's economic incentives during the prior
      times when it rendered services.
              Second, the very process of selling the loan may have been tainted by
      The Turoci Firm's economic incentives. Any buyer of that loan had an
      interest in assessing how risky the loan might be, which gets back to how
      much risk will be taken by the debtor - advised by its general bankruptcy
      counsel. If the risk is high then the prospective purchaser of the $25,000 loan
      might be able to buy the loan for a substantial discount. So Mr. Turoci had an
      incentive to minimize whatever risks exist, so that his lending business would
      be paid as close to $25,000 as possible.
              But, from the standpoint of the bankruptcy estate's future negotiations
      with the new holder of that claim, it might be best to maximize whatever risks
      exist. A purchaser of the loan who buys it for $10,000, and thinks of the loan
      as a risky venture, might be much more willing to accept a chapter 11 plan
      that will pay $10,000 over time than a purchaser who buys the loan for
      $25,000.
              Third, it is impossible to know what ongoing consequences the
      conflicts of interest might have had, beyond the time when the loan was sold.
      For example, suppose that during the first weeks of this case The Turoci Firm
      advised Debtor in ways that favored a sale of the real estate rather than
      attempting to start an Airbnb business. It is impossible to know if that advice
      might have been tainted by an awareness of the possible effects on the
      secured claim that was then held by Mr. Turoci's lending business. Now, after
      the loan has been sold, it may be too late to adopt a different strategy or
      tactics.
              Of course, the above discussion includes only some hypothetical
      illustrations of how the economic incentives might cause problems. In
      actuality there might be different issues that arise, or it might be that there
      were not any adverse effects. The point is only that, once The Turoci Firm
      held a claim against property of the estate, that created a lack of
      disinterestedness that could have had adverse effects, prior to, during, and
      after the time the loan was sold.
              Caveat: This Court wishes to emphasize that there is no evidence in

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      the record that Mr. Turoci or The Turoci Firm has actually taken any act, or
      omitted to do any act, that would have an actual adverse effect on the
      bankruptcy estate. To the contrary, so far as this Court is aware, Mr. Turoci
      and The Turoci Firm have attempted to help Debtor obtain the benefits of that
      law firm's services, which in turn appears to be an attempt to help Debtor
      fulfill the duties of a DIP for the benefit of creditors and all parties in interest.
                The point is only that the statute requires disqualification of general
      bankruptcy counsel based not only on actual conflicts but also for a lack of
      "disinterestedness." 11 U.S.C. 327(a). The tentative ruling is that the lending
      relationship, through Mr. Turoci's lending business, inherently creates a lack
      of disinterestedness that cannot be cured by subsequently selling the loan.

      (4) Section 327(e) does not provide an "end run" around the foregoing
      limitations
              The Reply suggests that, if employment cannot be authorized under
      subsection "(a)" of section 327, perhaps it can be authorized under
      subsection "(e)," "for the limited purposes of initiating the case and
      sheparding Debtor through the first few months." Reply (dkt. 51), p.3:10-14.
      The tentative ruling is that this solution, while creative, is not workable.
              True, Section 327(e) provides does not include the "disinterestedness"
      requirement. But it provides that the DIP, acting as a trustee for the benefit of
      creditors under 11 U.S.C. 1101(1) and 1107), may employ "for a specified
      special purpose, other than to represent the [DIP] in conducting the case," an
      attorney who previously represented the debtor, if that is in the best interest of
      the estate and if such attorney "does not represent or hold any interest
      adverse to the debtor or to the estate with respect to the matter on which
      such attorney is to be employed." (Emphasis added.)
              The problem is that (a) The Turoci Firm has been representing Debtor
      "in conducting the case" and, alternatively, (b) The Turoci Firm has, at least
      while its principal held a claim against the estate (through his lending
      business), held an "interest adverse to ... the estate" with respect to the
      general representation of the bankruptcy estate in conducting the case.
      Therefore, the tentative ruling is that The Turoci Firm's employment cannot be
      authorized under 11 U.S.C. 327(e).

      (5) Conclusion
            This Court is empathetic to debtors who lack the funds to hire

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      bankruptcy counsel, and is also empathetic to proposed bankruptcy counsel
      who attempt to solve that problem by arranging for loans. Unfortunately for
      those parties, the tentative ruling is that the arrangements in this case
      disqualify The Turoci Firm from employment.
             Caveat: This issue has not been extensively briefed by the parties; the
      decisions appear to be sparse; and the law in this area appears to be
      somewhat unclear. This Court is very much aware of the substantial
      consequences of the foregoing tentative ruling on The Turoci Firm, Debtor,
      the bankruptcy estate, and other parties in interest. The parties should be
      prepared to address whether they will seek further briefing.
                                   Party Information
  Debtor(s):
       Ashley Susan Aarons                     Represented By
                                                 Todd L Turoci
  Movant(s):
       Ashley Susan Aarons                     Represented By
                                                 Todd L Turoci
                                                 Todd L Turoci




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